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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 WHOLE WOMAN’S HEALTH, et al.,

        Plaintiffs,

        v.
                                                        A-16-CV-1300-DAE
 CHARLES SMITH, et al.,

        Defendants.




                                     NOTICE OF APPEAL

   Notice is hereby given that the Texas Conference of Catholic Bishops, Non-Party Movants in

the above-captioned case, hereby appeal to the United States Court of Appeals for the Fifth Circuit

from the following:

   1. Order denying Texas Catholic Conference of Bishops’ Opposed Motion to Quash

       (Dkt. 161, entered June 13, 2018).

   2. Order denying Texas Catholic Conference of Bishops’ Statement of Appeal and further

       ordering that Texas Conference of Catholic Bishops produce emails within 24 hours

       (Dkt. 168, entered June 17, 2018).




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                          Respectfully submitted,

                          By: /s/ Steven C. Levatino
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                          ATTORNEYS FOR TEXAS CATHOLIC
                          CONFERENCE OF BISHOPS




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                             CERTIFICATE OF SERVICE

  I hereby certify that on June 17, 2018, I served the foregoing document via the Court’s
CM/ECF system to all parties registered to receive such notice.




                                         ______________________________
                                         Steven C. Levatino




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